20-10009-scc   Doc 322-1 Filed 12/30/21 Entered 12/30/21 12:34:44   Exhibit
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20-10009-scc   Doc 322-1 Filed 12/30/21 Entered 12/30/21 12:34:44   Exhibit
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20-10009-scc   Doc 322-1 Filed 12/30/21 Entered 12/30/21 12:34:44   Exhibit
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20-10009-scc   Doc 322-1 Filed 12/30/21 Entered 12/30/21 12:34:44   Exhibit
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20-10009-scc   Doc 322-1 Filed 12/30/21 Entered 12/30/21 12:34:44   Exhibit
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